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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

FLORIDA STATE CONFERENCE
OF BRANCHES AND YOUTH UNITS
OF THE NAACP, et al.,

      Plaintiffs,

v.                                              Case Nos.: 4:23cv215-MW/MAF
                                                           4:23cv216-MW/MAF
                                                           4:23cv218-MW/MAF

CORD BYRD, in his official capacity
as Florida Secretary of State, et al.,

     Defendants.
__________________________/

                 ORDER GRANTING JOINT MOTION FOR
                LIMITED ADMISSION OF TRIAL EXHIBITS

      This Court has considered the parties’ joint motion to admit trial exhibits for

a limited purpose. ECF No. 258. The motion is GRANTED. Exhibit Nos. 266–383,

385–401, 406–425, and 427–646 are ADMITTED for the limited purpose of

showing that the fine letters were prepared or prepared and sent to third-party voter

registration organizations, but not for the truth of the matters asserted within the

exhibits.

      SO ORDERED on March 15, 2024.

                                       s/Mark E. Walker                   ____
                                       Chief United States District Judge
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